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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                                  §
                                                         §   Subchapter V
 2518 Cleburne Housing LLC                               §
                                                         §   Case No. 23-32106
                        Debtor.                          §   Eduardo V. Rodriguez


   FIRST AND FINAL APPLICATION FOR APPROVAL OF COMPENSATION OF
                          TRAN SINGH LLP

THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
THIS APPLICATION, YOU SHOULD IMMEDIATELY CONTACT THE APPLICANT TO RESOLVE THE
DISPUTE. IF YOU AND THE APPLICANT CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE APPLICANT. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE THAT THIS APPLICANT WAS SERVED ON YOU. YOUR
RESPONSE MUST STATE WHY THE APPLICATION SHOULD NOT BE GRANTED; IF YOU DO NOT
FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU
MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE APPLICATION AT THE
HEARING.

   To the Honorable Eduardo V. Rodriguez:

          Tran Singh LLP (“Applicant”) submits this First and Final Application for Approval of

Compensation for Services Rendered and Reimbursement of Expenses Incurred as Bankruptcy

Counsel for 2518 Cleburne Housing LLC (herein after the “Debtor”), Debtor-in-Possession for the

time period of June 6, 2023 to July 11, 2024 (the “Fee Application”) and would shows as follows:

          1.     The Debtor filed a voluntary petition for relief on June 5, 2023 (the “Petition Date”)

under Chapter 11 of Title 11, United States Code 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”)

with a Subchapter V designation. The Debtor’s case is pending before the United States

Bankruptcy Court for the Southern District of Texas, Houston Division

          2.     On June 7, 2023, Thomas A Howley was appointed as Subchapter V Trustee.




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        3.     Employment of Applicant was authorized by this Court on July 20, 2023. As part

of the retention agreement between the Debtor and Applicant, the Debtor has agreed to compensate

Applicant in accordance with its normal billing practice and subject to the provisions of 11 U.S.C.

§ 327(a) and approval of this Court. The Debtor has also agreed to pay for reasonable and necessary

expenses incurred in rendering legal services, including but not limited to, postage, photocopying,

long distance charges, depositions, and filing fees. Pursuant to the Bankruptcy Code, the fees of

Applicant, together with its necessary disbursement and expenses, constitute administrative

expenses of the Debtor’s estate in such amounts as may be allowed by the Court. Applicant

received a pre-petition retainer in the amount of $15,000.00.

        4.     Applicant was employed by and continues to act as bankruptcy counsel for the

Reorganized Debtor. This First and Final Fee Application is for the fees and expenses of Applicant

in its representation of Debtor for the time period of the Chapter 11 case from the Petition Date

through July 11, 2024.

        5.     By this Fee Application and pursuant to 11 U.S.C. § 330(a) and 331 and Bankruptcy

Rule 2016, Applicant seeks approval of its fees and expenses from June 6, 2023 through July 11,

2024, and requests approval of its professional and paraprofessional fees of $32,249.00 and

reimbursement of necessary expenses in the amount of $85.68.

              CASE STATUS, BACKGROUND OF DEBTOR AND DESCRIPTION OF
                 SERVICES, AND ISSUES IN CASE AND RESULTS ACHIEVED

        6.     On June 5, 2023, the Debtor filed their Chapter 11 bankruptcy case.

        7.     The Debtor’s Subchapter 11 Plan [Docket No. 21] was confirmed on December 5,

2023.

                                TIME AND LABOR REQUIRED

        8.     Applicant has set forth the actual time expended by Applicant in its capacity as


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general bankruptcy counsel. Applicant’s detailed time records regarding representation of the

Debtor’s as general bankruptcy counsel are attached as Exhibit 1. Applicant’s professionals and

paraprofessionals expended a total of 81.2 hours this case for total professional and

paraprofessional fees in the amount of $32,249.00 with regards to its representation of the Debtor

as general bankruptcy counsel.

                    NOVELTY AND DIFFICULTY OF ISSUES PRESENTED

       9.      The case did not pose any complex or novel bankruptcy issues.

           SKILLS REQUISITE TO PROPERLY PERFORM THE LEGAL SERVICES

       10.     An understanding of the bankruptcy laws and issues was important to the proper

representation of the Debtor. This case presented issues that required a working knowledge of the

Bankruptcy code and case law and required an attorney with working knowledge and skill in

Chapter 11 cases.

       11.     Applicant required significant skills and expertise in Chapter 11 cases. Applicant

believes that the case required significant knowledge of business bankruptcy and understanding of

finance.

                         PRECLUSION FROM OTHER EMPLOYMENT

       12.     Involvement in this particular chapter 11 case required considerable time and

precluded Applicant from representation of other Debtors in Subchapter V cases.

                                         CUSTOMARY FEE

       13.     All charges for services rendered and for reimbursement of cost incurred are the

rates in the amounts Applicant customarily billed to, and collected from, Applicant’s other clients

for similar services. Applicant’s time records indicate (i) all professionals who rendered services

for the Debtor, (ii) the time expended by each person for each day, (iii) the respective billing rates



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of these persons, and (iv) the total requested amounts for services rendered to the Debtor is attached

as Exhibit 1. Applicant’s attorneys recorded the services they performed on daily time sheets in

six-minute increments, or in tenths of an hour. These time entries were made substantially

contemporaneously with the performance of the services described in the time records and were

kept in the regular course of the Applicant’s business. Applicant believes that the amount requested

as compensation for services rendered and for reimbursement of expenses incurred are reasonable,

necessary and should be approved.

                      WHETHER THE FEE IS FIXED OR CONTINGENT

          14.   Applicant has calculated its fee on the basis an hourly rate for the services

performed.

          15.   While Applicant received one prepetition retainer in the amount of $15,000.00

Applicant had no assurances of further payment to be received as an administrative claim of the

estate.

          LIMITATION IMPOSED BY THE CLIENT OR OTHER CIRCUMSTANCES

          16.   Applicant attempted to work to meet deadlines imposed by the Court and the

Bankruptcy Code. The need to complete matters and obtain approvals on a timely basis for certain

matters required Applicant to have limited opportunities for other matters.



                      AMOUNTS INVOLVED AND RESULTS OBTAINED

          17.   Applicant provided a benefit to the Debtor’s estate as the bankruptcy process

allowed creditors to determine the total liabilities of the Debtor and obtaining confirmation of a

consensual plan.

                                UNDESIRABILITY OF THE CASE



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       18.     This case was not undesirable, however, each case poses a likelihood of potential

conversion to Chapter 7, leaving Applicant as an administrative expense secondary to Chapter 7

administrative expenses.

        NATURE AND LENGTH OF PROFESSIONAL RELATIONSHIP WITH THE
                                DEBTOR

       19.     Applicant was retained by the Debtor on June 6, 2023 and did not represent the

Debtor previously.

                                  AWARDS OF SIMILAR CASES

       20.     The fees requested by Applicant are comparable to the fees requested in other

similar proceedings for similar services. Applicant requests that this Court take notice of awards

in comparable cases for comparable services.

                              FEES AND EXPENSES REQUESTED

       The fees and expenses requested in this application are as follows:

       Total Professional and Paraprofessional Fees           $32,249.00

       Total Expenses                                         $85.68

       Total Amount                                           $32,334.68

    The expenses of Applicant are set forth in Exhibit 1. Applicant believes that the total expenses

are reasonable, necessary, and appropriately reimbursable.



                                           CONCLUSION

       21.     Applicant believes that the services rendered by it as described have been beneficial

to the Debtor’s estate as Debtor’s Plan was confirmed. Applicant further believes and represents

that the Total Fees and Expenses sought in connection with the services provided are reasonable

based upon the nature, extent and value of the services, the time spent on the services, and the cost


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of comparable services rendered other than in a case under Title 11 of the United States Code.

    WHEREFORE, Applicant respectfully requests that this Court enter an Order approving

Applicant’s request for an allowance of Total Professional and Paraprofessional Fees of

$32,249.00 and allowance of Total Expenses of $85.68 for the period of June 6, 2023 through July

11, 2024.

    Dated: July 11, 2024

                                            Respectfully submitted,


                                              TRAN SINGH LLP

                                         By: /s/Brendon Singh
                                             Susan Tran Adams | TBN: 24075648
                                             Brendon Singh | TBN: 24075646
                                             2502 La Branch Street
                                             Houston TX 77004
                                             Ph: (832) 975-7300
                                             Fax: (832) 975-7301
                                             STran@ts-llp.com

                                            Counsel for Debtor and Debtor in Possesion




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                           CERTIFICATE OF SERVICE

    I hereby certify under penalty of perjury that this Application, its exhibits, and
accompanying proposed order was served on July 11, 2024 to the creditors listed on the
attached creditor mailing matrix via ECF/CM or U.S. Mail.

                                         /s/Brendon Singh
                                         Brendon Singh




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                                                                                                                      1
Tran Singh LLP
2502 La Branch Street                                                                              Tran Singh LLP
Houston, Texas 77004
United States
832-975-7300




Robert Wiseman                                                                              Balance       $32,334.68
                                                                                            Invoice #     7252344
                                                                                            Invoice Date  July 11, 2024
                                                                                            Payment Terms
                                                                                            Due Date




2518 Cleburne Housing LLC 23-32106-H3-11 (Sub V)

                                                                                           Securely pay online
                                                            https://corral-tran-singh-llp.mycase.com/x7qamcvt
Time Entries

Date         EE    Activity          Description                                                  Rate   Hours   Line Total

                                     Sent a text message regarding additional
06/06/2023   WG    Text Message      documents needed for the draft of the motion to            $95.00     0.1       $9.50
                                     sell.

06/07/2023   BDS   Correspondence    with debtor rep about the realtor.                        $500.00     0.1     $50.00

                   Draft proposed
                   schedules,
06/12/2023   WG                      Finalized Schedules.                                       $95.00     1.3    $123.50
                   statements, and
                   plan

                                     with Tom Howley the Subchapter V trustee about
06/12/2023   BDS   Correspondence                                                              $500.00     0.1     $50.00
                                     Court ordered payment.
06/13/2023   ST    Correspondence    Correspondence with Tom Howley regarding case.            $500.00     0.1     $50.00

                                     Correspondence with Yasmine Rivera regarding
06/13/2023   ST    Correspondence                                                              $500.00     0.1     $50.00
                                     IDI

                                     Correspondence with Yasmine Riveria regarding
06/13/2023   ST    Correspondence                                                              $500.00     0.1     $50.00
                                     IDI

                                     Followed up and sent a text message asking for
06/14/2023   WG    Text Message                                                                 $95.00     0.1       $9.50
                                     information regarding the Real Estate agent.

06/14/2023   BDS   Correspondence    with debtor rep about the listing agreement.              $500.00     0.1     $50.00
06/14/2023   BDS   Reviewed          The listing agreement to purchase the property.           $500.00     0.8    $400.00

                                     Sent correspondence back and forth with the
06/16/2023   WG    Email             Debtor's rep. regarding additional questions for the       $95.00     0.4     $38.00
                                     schedules.
                                     Sent a text message following up on reviewing the
06/16/2023   WG    Text Message                                                                 $95.00     0.1       $9.50
                                     draft of the schedules.
                                     Finalized Schedules with revisions from client
06/16/2023   BDS   Review and Edit                                                             $500.00     1.1    $550.00
                                     comments and documents.
06/19/2023   WG    Text Message      with debtor rep about the taxes for the business.          $95.00     0.1       $9.50
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                                        with debtor rep about the completing the review of
06/19/2023   WG    Correspondence                                                               $95.00   0.1       $9.50
                                        the schedules.

                                        Text message to Debtor's rep. regarding
06/23/2023   JD    Text Message                                                                 $85.00   0.1       $8.50
                                        documents for U.S. Trustee.

06/23/2023   BDS   Draft                Application to employ Tran Singh.                      $500.00   1.2    $600.00
                                        Phone call with Debtor's rep. regarding information
06/26/2023   BDS   Phone Call                                                                  $500.00   0.2    $100.00
                                        and documents requested at the IDI.
06/26/2023   BDS   IDI Hearing          Attended IDI hearing.                                  $500.00   0.8    $400.00

06/26/2023   BDS   Draft                Pre-status conference report.                          $500.00   1.1    $550.00
06/26/2023   BDS   Reviewed             Updated sale contract.                                 $500.00   0.2    $100.00

06/27/2023   WG    Text Message         with debtor rep about the Status report.                $95.00   0.1       $9.50
06/29/2023   WG    Filed                Pre status conference report                            $95.00   0.1       $9.50
07/11/2023   BDS   341 Meeting          341 Meeting                                            $500.00   0.8    $400.00

                                        Phone call with the debtor's rep about the items
07/11/2023   BDS   Phone Call                                                                  $500.00   0.4    $200.00
                                        needed from the 341 meeting.

                   Hearing
07/11/2023   BDS                        Prepared for status conference.                        $500.00   0.6    $300.00
                   Preparation

07/11/2023   BDS   Hearing              Attended the Status hearing.                           $500.00   0.3    $150.00

07/12/2023   BDS   Reviewed             Status Conference hearing Order.                       $500.00   0.1     $50.00

                                        with debtor rep about the payment to the subv
07/13/2023   TR    Text Message                                                                  $0.00   0.1       $0.00
                                        trustee.
                                        with debtor rep about the bank statements for the
07/21/2023   TR    Correspondence                                                              $500.00   0.2    $100.00
                                        MOR and the MOR.
07/26/2023   JD    Correspondence       with debtor rep about the MORs and the CPA.             $85.00   0.2     $17.00
07/26/2023   JD    Review & Draft       MOR for June.                                           $85.00   0.8     $68.00
07/26/2023   JD    Correspondence       with debtor rep about how to complete the MORs.         $85.00   0.2     $17.00

                                        with debtor rep about the update on the DIP
07/26/2023   JD    Text Message                                                                 $85.00   0.1       $8.50
                                        account.
07/26/2023   WG    Correspondence       With realtor about the application to employ.           $95.00   0.2     $19.00
                                        Interoffice meeting about the listing agreement, the
07/31/2023   BDS   Meeting                                                                     $500.00   1.1    $550.00
                                        MOR, and the leases.

08/04/2023   JD    Review and Edit      MOR for June 2023.                                      $85.00   0.4     $34.00
                   Reviewed - Proof of
08/11/2023   BDS                       Claim 2 from Civic real estate holding.                 $500.00   0.9    $450.00
                   Claim
08/25/2023   ST    Draft                Prepared initial draft of debtor's plan                $500.00   2.4   $1,200.00
08/28/2023   ST    Draft                Finalized draft of debtor's plan                       $500.00   3.1   $1,550.00
08/29/2023   BDS   Phone Call           with debtor rep to review the plan.                    $500.00   0.3    $150.00
09/05/2023   WG    Filed                Chapter 11 plan.                                        $95.00   0.3     $28.50

                                        with 1st lien holder about the claim and plan
09/05/2023   BDS   Phone Call                                                                  $500.00   0.3    $150.00
                                        treatment. (they thought the loan was sold)
09/05/2023   BDS   Draft                Ballots and solicitation package.                      $500.00   0.7    $350.00
09/05/2023   WG    Text Message         with debtor rep about the final Plan terms.             $95.00   0.1       $9.50

09/05/2023   WG    Correspondence       with debtor rep about closing statement.                $95.00   0.2     $19.00
                   Printing and Exhibit
09/06/2023   WG                         Solicitation package.                                   $95.00   0.8     $76.00
                   Production
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                                    to the 1st lien holder about the treatment of the
09/08/2023   BDS   Phone Call                                                             $500.00   0.3   $150.00
                                    claim.
                                    to the 1st lien holder about the treatment of the     $500.00         $300.00
09/15/2023   BDS   Phone Call                                                                       0.6
                                    claim. (note was transferred)
09/18/2023   BDS   Reviewed         the Lien records.                                     $500.00   0.3   $150.00
                                    with the 1st lien holder about the treatment of the
09/21/2023   BDS   Phone Call                                                             $500.00   0.5   $250.00
                                    claim. Got the new company that got the note.

                                    with UST about cash collateral issue and the
09/22/2023   BDS   Phone Call                                                             $500.00   0.6   $300.00
                                    motion for status conference.
09/26/2023   BDS   Reviewed         UST motion for status conference.                     $500.00   0.3   $150.00
                                    with debtor rep about the MORs for July and
09/26/2023   JD    Text Message                                                            $85.00   0.2    $17.00
                                    August.

09/27/2023   JD    Correspondence   with debtor rep about the leases and income.           $85.00   0.3    $25.50
09/28/2023   WG    Correspondence   with debtor rep about the money from the leases.       $95.00   0.1     $9.50
09/28/2023   JD    Review & Draft   MOR for July and August.                               $85.00   0.8    $68.00
                                    with debtor rep about the MOR, DIP account and
09/28/2023   BDS   Phone Call                                                             $500.00   0.4   $200.00
                                    the Leases.
09/28/2023   WG    Correspondence   with debtor rep about the DIP account.                 $95.00   0.1     $9.50
10/02/2023   BDS   Reviewed         Witness list from UST.                                $500.00   0.2   $100.00
10/02/2023   BDS   Phone Call       with UST about requested information.                 $500.00   0.6   $300.00

                                    with the 1st lien holder about the treatment of the
10/03/2023   BDS   Phone Call                                                             $500.00   0.6   $300.00
                                    claim after the transfer of claim was filed.
10/03/2023   BDS   Draft            witness and exhibit list for the status conference    $500.00   0.7   $350.00
                   Hearing
10/03/2023   BDS                    UST status conference.                                $500.00   0.9   $450.00
                   Preparation

10/03/2023   WG    Correspondence   with debtor rep about the Lease income and MOR.        $95.00   0.3    $28.50
10/03/2023   BDS   Reviewed         Payment history from the leases.                      $500.00   0.3   $150.00
                                    interoffice meeting with Wendy about the lease
10/03/2023   BDS   Meeting                                                                $500.00   1.6   $800.00
                                    income and payments from the tenants.

10/04/2023   BDS   Hearing          Hearing on UST motion for status conference.          $500.00   0.6   $300.00
10/05/2023   JD    Review & Draft   MOR for July 2023                                      $85.00   0.6    $51.00
10/06/2023   JD    Review & Draft   MOR for August 2023                                    $85.00   0.4    $34.00

10/09/2023   BDS   Reviewed         MOR for July and August.                              $500.00   0.3   $150.00

10/10/2023   JD    Filed            MOR for July and August with attachments.              $85.00   0.2    $17.00
10/10/2023   BDS   Draft            Notice of compliance.                                 $500.00   0.6   $300.00

                                    with debtor rep about the payments from the DIP
10/10/2023   BDS   Correspondence                                                         $500.00   0.2   $100.00
                                    account.
10/11/2023   BDS   Draft            ER motion to continue confirmation.                   $500.00   0.8   $400.00
                                    with creditors and ust about continuing
10/11/2023   BDS   Correspondence                                                         $500.00   0.3   $150.00
                                    confirmation.

                   Correspondence   with creditors and trustees about continuing
10/13/2023   BDS                                                                          $500.00   0.1    $50.00
                                    confirmation.

10/16/2023   BDS   Draft            Motion to sell.                                       $500.00   1.3   $650.00

10/18/2023   BDS   Reviewed         the relase from the 2nd lien holder.                  $500.00   0.2   $100.00
10/25/2023   JD    Review & Draft   MOR September 2023.                                    $85.00   0.4    $34.00

10/25/2023   BDS   Reviewed         MOR September 2023                                    $500.00   0.3   $150.00
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11/03/2023   BDS   Reviewed         Reviewed Response by NewRez to motion to sell.      $500.00   0.3   $150.00

11/03/2023   BDS   Phone Call       to Jack O'Boyle about the response.                 $500.00   0.2   $100.00
11/08/2023   BDS   Reviewed         Order setting hearing on Motion to sell.            $500.00   0.1    $50.00

11/09/2023   WG    Draft            COS for motion to sell.                              $95.00   0.3    $28.50
                   Printing &
11/09/2023   WG                     NOH for Motion to sell.                              $95.00   0.9    $85.50
                   Production
11/10/2023   BDS   Draft            Witness and exhibit list for motion to sell.        $500.00   0.8   $400.00

11/13/2023   BDS   Draft            Application to employ the realtor.                  $500.00   1.6   $800.00
                   Hearing
11/13/2023   BDS                    Prepare for motion to sell.                         $500.00   0.9   $450.00
                   Preparation
11/14/2023   BDS   Draft            Proposed Order with language from comments.         $500.00   0.3   $150.00

11/14/2023   BDS   Hearing          Motion to sell.                                     $500.00   1.2   $600.00
11/15/2023   BDS   Reviewed         Order setting hearing on Application to employ.     $500.00   0.2   $100.00

                   Printing &
11/15/2023   WG                     for NOH on Application to employ.                    $95.00   0.6    $57.00
                   Production

11/27/2023   BDS   Text Message     with debtor rep about closing.                      $500.00   0.1    $50.00
                                    with debtor rep to reviewed the requirements for
11/28/2023   BDS   Phone Call                                                           $500.00   0.6   $300.00
                                    confirmation.

11/28/2023   BDS   Text Message     with debtor rep about closing and confirmation.     $500.00   0.1    $50.00

11/29/2023   BDS   Reviewed         Ballots.                                            $500.00   0.1    $50.00
11/30/2023   BDS   Draft            Ballots Summary.                                    $500.00   0.6   $300.00

                                    Amend the Ballot summary for the new ballot
12/01/2023   BDS   Draft                                                                $500.00   0.1    $50.00
                                    accepting.

                                    Witness and exhibit list for the Application to
12/01/2023   BDS   Draft                                                                $500.00   0.6   $300.00
                                    employ.
12/01/2023   BDS   Draft            Witness and exhibit list for confirmation.          $500.00   0.7   $350.00

                                    Revised Proposed Order for Confirmation for
12/01/2023   BDS   Draft                                                                $500.00   0.8   $400.00
                                    confirmation under 1191(a).

12/01/2023   JD    Review & Draft   MOR for October 2023.                                $85.00   0.6    $51.00
                                    with debtor rep about confirmation and the ballot
12/01/2023   WG    Correspondence                                                        $95.00   0.2    $19.00
                                    from Rdgz Bros.

                                    Revised Confirmation Order with additional
12/02/2023   BDS   Draft                                                                $500.00   0.2   $100.00
                                    language from the 2nd lien holder.

12/02/2023   BDS   Correspondence   with the title company about revising the HUD.      $500.00   0.3   $150.00
12/04/2023   BDS   Reviewed         MOR for October 2023.                               $500.00   0.2   $100.00

                   Hearing
12/04/2023   BDS                    for confirmation and application to employ.         $500.00   1.3   $650.00
                   Preparation

12/05/2023   JD    Filed            Filed MOR for October 2023.                          $85.00   0.1     $8.50

12/05/2023   BDS   Hearing          on Confirmation of the plan.                        $500.00   0.4   $200.00

12/05/2023   BDS   Reviewed         Post confirmation Order.                            $500.00   0.1    $50.00
12/05/2023   BDS   Text Message     with debtor rep about confirmation.                 $500.00   0.1    $50.00

12/06/2023   BDS   Correspondence   with the title company about closing.               $500.00   0.2   $100.00

12/11/2023   JD    Correspondence   with debtor rep about MORs and bank statements.      $85.00   0.1     $8.50
12/14/2023   JD    Correspondence   with debtor rep about MORs and bank statements.      $85.00   0.1     $8.50

12/20/2023                          with Tom Howley the Subchapter V trustee about
             BDS   Correspondence                                                       $500.00   0.1    $50.00
                                    closing on the sale.
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12/21/2023   BDS   Correspondence    with the title company about closing.                    $500.00   0.3   $150.00
12/28/2023   BDS   Correspondence    with the debtor's rep about closing.                     $500.00   0.1    $50.00

01/04/2024   JD    Correspondence    with debtor rep about MORs and bank statements.           $85.00   0.1     $8.50
01/04/2024   BDS   Text Message      with debtor rep about closing.                           $500.00   0.1    $50.00

                                     with the title company about items needed to clean
01/04/2024   BDS   Correspondence                                                             $500.00   0.3   $150.00
                                     up the title report.

                                     the title report to identify what title needs to clean
01/04/2024   BDS   Reviewed                                                                   $500.00   1.1   $550.00
                                     up title for closing.
                                     with Tom Howley the Subchapter V trustee about
01/05/2024   BDS   Correspondence                                                             $500.00   0.1    $50.00
                                     closing on the sale.
                                     with the title company about the closing items
01/11/2024   BDS   Correspondence                                                             $500.00   0.3   $150.00
                                     needed.

01/11/2024   BDS   Correspondence    with Secured creditors about payoffs.                    $500.00   0.3   $150.00

01/12/2024   BDS   Correspondence    with the title company about the closing.                $500.00   0.1    $50.00
                                     with Jack about the payoff of the lien and the
01/14/2024   BDS   Correspondence                                                             $500.00   0.2   $100.00
                                     default under the plan.

01/18/2024   BDS   Correspondence    with the title company about the closing.                $500.00   0.2   $100.00

01/19/2024   JD    Review & Draft    MOR November 2023                                         $85.00   0.6    $51.00
01/19/2024   JD    Correspondence    with debtor rep about MOR and bank statements.            $85.00   0.1     $8.50

01/22/2024   BDS   Reviewed          MOR for October 2023.                                    $500.00   0.2   $100.00
01/22/2024   JD    Correspondence    with debtor rep about MOR and bank statements.            $85.00   0.1     $8.50

02/05/2024   BDS   Correspondence    with debtor rep about closing.                           $500.00   0.1    $50.00

02/06/2024   BDS   Correspondence    with the title company about the closing.                $500.00   0.1    $50.00
02/08/2024   BDS   Correspondence    with the title company about the closing.                $500.00   0.1    $50.00

02/08/2024   BDS   Reviewed          payoff statements for secured creditors.                 $500.00   0.3   $150.00
02/21/2024   BDS   Reviewed          Notice of Default from Jack O'Boyle.                     $500.00   0.1    $50.00

02/21/2024   BDS   Correspondence    with debtor rep about closing.                           $500.00   0.1    $50.00

                                     with Tom Howley the Subchapter V trustee about
02/21/2024   BDS   Correspondence                                                             $500.00   0.2   $100.00
                                     closing on the sale and where the case is.
02/22/2024   WG    Draft             Draft the notice of effective date.                       $95.00   0.3    $28.50

02/22/2024   BDS   Review and Edit   Motion to close.                                         $500.00   0.6   $300.00

02/22/2024   BDS   Correspondence    with the title company about the closing.                $500.00   0.2   $100.00
02/23/2024   BDS   Correspondence    with debtor rep about closing.                           $500.00   0.1    $50.00

                                     Subchapter V Trustee Motion for Status
02/26/2024   BDS   Reviewed                                                                   $500.00   0.3   $150.00
                                     Conference.

02/27/2024   WG    Draft             Revised the notice of effective date.                     $95.00   0.2    $19.00
02/27/2024   BDS   Reviewed          Notice of Effective date.                                $500.00   0.2   $100.00

02/28/2024   WG    Draft             Drafted a motion and order for continuance.               $95.00   1.0    $95.00
02/28/2024   BDS   Correspondence    with debtor rep about closing.                           $500.00   0.1    $50.00

                   Hearing
02/29/2024   BDS                     for Status conference.                                   $500.00   0.7   $350.00
                   Preparation

03/01/2024   ST    Hearing           Appeared at status conference hearing                    $500.00   0.3   $150.00
03/01/2024   BDS   Correspondence    with debtor rep about closing.                           $500.00   0.1    $50.00

                   Hearing
03/15/2024   BDS                     for continued status conference.                         $500.00   0.5   $250.00
                   Preparation

03/18/2024   BDS   Hearing           attended continued status conference.                    $500.00   0.4   $200.00
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03/18/2024   BDS   Text Message     with debtor rep about closing.                        $500.00   0.1    $50.00

                                    with debtor rep about closing and the title
03/18/2024   BDS   Correspondence                                                         $500.00   0.2   $100.00
                                    insurance.
03/18/2024   BDS   Correspondence   with the title company about the closing.             $500.00   0.1    $50.00

03/19/2024   BDS   Correspondence   with the title company about the closing.             $500.00   0.1    $50.00

03/20/2024   BDS   Correspondence   with the title company about the closing.             $500.00   0.2   $100.00

                   Hearing
03/29/2024   BDS                    for continued status conference.                      $500.00   0.3   $150.00
                   Preparation
                                    with debtor rep about the Court Ordered payment
03/29/2024   BDS   Correspondence                                                         $500.00   0.1    $50.00
                                    for the Trustee.

03/29/2024   BDS   Correspondence   with the title company about the closing.             $500.00   0.2   $100.00

04/01/2024   BDS   Correspondence   with debtor rep about closing.                        $500.00   0.1    $50.00
04/03/2024   BDS   Hearing          Continued status conference about the sale.           $500.00   0.2   $100.00

                                    with debtor rep about closing, the dip account, the
04/03/2024   BDS   Correspondence                                                         $500.00   0.2   $100.00
                                    MOR and the quickbook payments.

04/03/2024   BDS   Phone Call       with debtor rep about closing and lease income.       $500.00   0.6   $300.00
                                    with the title company about the closing statement
04/03/2024   BDS   Correspondence                                                         $500.00   0.8   $400.00
                                    and the Court Order for the sale.

04/03/2024   BDS   Correspondence   with the Debtor rep about the closing statement.      $500.00   0.2   $100.00

                                    Interoffice meeting with Wendy about closing
04/03/2024   BDS   Meeting          statement and documents needed from the title         $500.00   1.2   $600.00
                                    company and the Debtor Rep to close out the case.

04/08/2024   JD    Review & Draft   MOR for December 2023.                                 $85.00   0.5    $42.50

04/08/2024   JD    Review & Draft   MOR for January 2024                                   $85.00   0.4    $34.00

04/09/2024   BDS   Reviewed         MOR for December and January.                         $500.00   0.3   $150.00
04/10/2024   BDS   Draft            Notice of withdrawal of effective date                $500.00   0.2   $100.00

04/10/2024   WG    Filed            MOR for December 2023 and January 2024                 $95.00   0.2    $19.00

04/18/2024   BDS   Correspondence   with the title company about the closing statement.   $500.00   0.2   $100.00
                                    document portal from title company with closing
04/26/2024   BDS   Reviewed                                                               $500.00   0.6   $300.00
                                    documents.

                                    with the title company about the closing statement
04/26/2024   BDS   Correspondence                                                         $500.00   0.3   $150.00
                                    issues.

04/29/2024   BDS   Correspondence   with the title company about the closing statement.   $500.00   0.3   $150.00

                                    with debtor rep about closing and the closing
04/30/2024   BDS   Correspondence                                                         $500.00   0.2   $100.00
                                    statement.

04/30/2024   BDS   Correspondence   with the title company about the closing statement.   $500.00   0.3   $150.00

04/30/2024   BDS   Correspondence   with lien holders to confirm payoff was paid.         $500.00   0.2   $100.00

                                    with the title company about the closing statement
04/30/2024   BDS   Correspondence                                                         $500.00   0.3   $150.00
                                    and confirmation of payoff.

                                    with creditors to confirmed complete paid was
05/01/2024   BDS   Correspondence                                                         $500.00   0.3   $150.00
                                    received.

                   Hearing
05/02/2024   BDS                    for continued status conference.                      $500.00   0.4   $200.00
                   Preparation
05/02/2024   BDS   Text Message     with debtor rep about closing statement.              $500.00   0.1    $50.00

05/02/2024   BDS   Correspondence   with the title company about the closing statement.   $500.00   0.2   $100.00

05/03/2024   BDS   Hearing          Attended continued status conference.                 $500.00   0.4   $200.00
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05/07/2024    BDS      Reviewed            SubV Trustee fee application.                         $500.00         0.2     $100.00

05/07/2024    BDS      Correspondence      with the title company about the closing statement.   $500.00         0.3     $150.00
05/10/2024    BDS      Correspondence      with debtor rep about closing statement.              $500.00         0.1      $50.00

05/10/2024    BDS      Correspondence      with the title company about the closing statement.   $500.00         0.2     $100.00

05/11/2024    BDS      Correspondence      with the title company about the closing statement.   $500.00         0.2     $100.00

                                           with debtor rep about closing statement and closing
05/13/2024    BDS      Correspondence                                                            $500.00         0.2     $100.00
                                           out the case.

05/16/2024    BDS      Correspondence      with Debtor's rep about the HUD being corrected.      $500.00         0.1      $50.00

              TG                           Email correspondence with Debtor regarding
05/16/2024             Correspondence                                                             $85.00         0.1        $8.50
                                           closing documents
                                           with Debtor representative about issues with the
05/17/2024    BDS      Correspondence                                                            $500.00         0.1      $50.00
                                           HUD.

                                           with Debtor representative about issues with the
05/22/2024    BDS      Correspondence                                                            $500.00         0.1      $50.00
                                           HUD.

                                           with Debtor representative about Payment to the
05/30/2024    TG       Correspondence                                                             $85.00         0.1        $8.50
                                           sub v trustee.

                                           with Debtor representative about outstanding issue
06/05/2024    BDS      Correspondence                                                            $500.00         0.2     $100.00
                                           to close the case.

                                           Email correspondence with Debtor regarding
06/26/2024    TG       Correspondence                                                             $85.00         0.1        $8.50
                                           payment to Subchapter V Trustee

                                           Correspondence via email with Debtor regarding
07/03/2024    TG       Correspondence                                                             $85.00         0.2      $17.00
                                           HUD statement

07/03/2024    TG       Draft               Drafted Motion to Close                                $85.00         0.5      $42.50
07/03/2024    TG       Draft               Drafted Fee Application                                $85.00         0.6      $51.00

                                           Phone Call to Subchapter V Trustee regarding
07/03/2024    TG       Phone Call                                                                 $85.00         0.1        $8.50
                                           payment from Debtor

07/05/2024    BDS      Reviewed            Motion to close                                       $500.00         0.2     $100.00
07/05/2024    BDS      Review and Edit     Fee application.                                      $500.00         0.3     $150.00

07/05/2024    TG       Draft and file      Drafted Notice of Effective Date & filed with court    $85.00         0.7      $59.50

                                           Drafted Notice of Substantial Consummation and
07/05/2024    TG       Draft and file                                                             $85.00         0.6      $51.00
                                           filed with Court
07/11/2024    TG       Draft               MOR for February                                       $85.00         0.3      $25.50

07/11/2024    TG       Draft               MOR for March                                          $85.00         0.4      $34.00

07/11/2024    TG       Draft               MOR for April                                          $85.00         0.2      $17.00

07/11/2024    TG       Draft               MOR for May                                            $85.00         0.4      $34.00

07/11/2024    TG       Draft               MOR for June                                           $85.00         0.3      $25.50
Non-billable Time Entries:

06/23/2023    TR       Text Message        with debtor rep about the IDI Report.                   $0.00         0.1        $0.00

                       Printing &
11/20/2023    WG                           for NOH for Application to employ.                     $95.00         0.5      $47.50
                       Production
02/27/2024    WG       Filed               Filed the notice of effective date.                    $95.00         0.1        $9.50

04/10/2024    WG       Draft               Notice of Withdrawal.                                  $95.00         0.3      $28.50

                                                                                                  Totals:      81.2    $32,249.00
Expenses

Date          EE       Activity            Description                                              Cost    Quantity    Line Total

06/27/2023    TR       Postage/Production Postage for Application to Employ                        $0.63       17.0       $10.71
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09/06/2023   TR    Postage    NOH for Confirmation hearing.          $0.63          17.0       $10.71
10/13/2023   TR    Postage    for motion for continue hearing.       $0.63          17.0       $10.71

10/18/2023   TR    Postage    for Motion to sell.                    $0.63          17.0       $10.71

11/09/2023   TR    Postage    for NOH for Motion to sell.            $0.63          17.0       $10.71

11/14/2023   TR    Postage    for application to employ.             $0.63          17.0       $10.71

11/15/2023   TR    Postage    NOH for the application to employ      $0.63          17.0       $10.71
05/14/2024   BDS   Postage    for Fee application.                   $0.63          17.0       $10.71

                                                                          Expense Total:       $85.68


                                                                  Time Entry Sub-Total:    $32,249.00
                                                                    Expense Sub-Total:        $85.68
                                                                             Sub-Total:    $32,334.68


                                                                                 Total:    $32,334.68
                                                                        Amount Paid:            $0.00

                                                                         Balance Due:      $32,334.68
